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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 BRIAN C. DAVISON,                                      )
                                                        )
        Plaintiff,                                      )
                                                        )
 v.                                                     )    Civil Action No.: 1:16-cv-932
                                                        )             (JCC/IDD)
                                                        )
 LOUDOUN COUNTY BOARD OF                                )
 SUPERVISORS and PHYLLIS RANDALL,                       )
                                                        )
        Defendants.                                     )

      DEFENDANTS LOUDOUN COUNTY BOARD OF SUPERVISORS AND PHYLLIS
        RANDALLS’ MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY
              JUDGMENT FILED PURSUANT TO FED R. CIV. P. 56(a)

        COME NOW the defendants, Loudoun County Board of Supervisors (“the Board”)1 and

 Phyllis Randall (“Randall”), by counsel, and in support of their Motion for Summary Judgment, filed

 pursuant to Fed. R. Civ. P. 56(a), argue as follows:

        I.       STATEMENT OF PROCEEDINGS

        The plaintiff, Brian Davison (“Davison”), filed his original Complaint against these two

 defendants as well as other County defendants including multiple Counts related to alleged

 violations of his constitutional rights, and a claim under the Virginia Freedom of Information Act

 (“VFOIA”). Following hearing on all of the defendants’ Motion to Dismiss, the court entered an

 Order on September 9 dismissing Counts III (equal protection claim) and IV (VFOIA), dismissing

 claims against all of the individually named defendants, including Randall, and denying the Board’s

 Motion to Dismiss Counts I and II. (Doc. 11)2.


        1
         The Board is the legally recognized governing body for Loudoun County and therefore
 “the Board” may be used interchangeably with “Loudoun” or “the County.”
        2
            “Doc.” refers to court ECF numbered document in the case.
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        The Board filed an Answer to Counts I and II. (Doc. 13). Davison filed a Motion for leave

 to amend his Complaint to add defendant Randall in her individual and official capacity, identifying

 Counts V and VI for alleged constitutional rights based on the previously claimed “blocking”3 of

 Davison’s ability to post to Randall’s Facebook page, which she unblocked within 24 hours. (Docs.

 14-15; Compl. ¶¶ 28, 33; Am. Compl. ¶¶ 15, Ex. 24; Doc. 6, p. 9). Davison’s Motion for leave to

 amend was objected to, then granted in part, denied in part, by the court on September 30. (Doc. 20).

 Loudoun filed an Answer to the First Amended Complaint and Randall filed a Motion to Dismiss

 pursuant to Fed R. Civ. P. 12(b)(6). (Docs. 34 and 35-38, respectively.)

        Davison again moved to amend his Complaint by adding a Count VII4 (Doc. 25) which was

 denied without prejudice. (Docs. 31-32). Davison moved for partial summary judgment (Docs. 39-

 41) which was denied, as was Randall’s Motion to Dismiss. (Docs. 57-58). Randall filed an Answer

 to the First Amended Complaint (Doc. 59) denying all allegations and raising the affirmative defense

 of qualified immunity. Davison moved a third time to amend his Complaint by adding a Count VII

 and Counts VIII and IX (now restyled as Counts VII and VII in Davison’s Second Amended

 Complaint as to Randall only) to add claims for alleged violation of the Virginia Constitution

 protection afforded free speech and due process, which was heard on Friday, March 24, 2017.

 (Docs. 67-69). The motion was granted in part, denied in part, allowing Davison to add the Virginia



        3
         See Davison’s deposition Tr. pp. 59-66 for description of blocking versus banning of an
 individual, and Davison Tr. Exs. 12 and 13, also Davison’s trial exhibits 33 and 36 to which no
 objection was noted. At times, these terms were used interchangeably in the pleadings and
 discovery but Randall’s action to which Davison objects was actually banning him as opposed to
 blocking him. Banning prevented him from commenting on her page but not from seeing her
 page and other posts.
        4
         Also the subject of the prior Motion to Amend, which was denied without prejudice.
 (Doc. 20).

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 constitutional claims but denying leave to add Count VII which was a variation on the earlier version

 of Count VII he attempted to include in his lawsuit. (Doc. 87). An agreed response was filed to that

 Second Amended Complaint. (Doc. 94).

        Both defendants move for summary judgment pursuant to Fed. R. Civ. P. 56(a) on the

 following grounds: As to the Board, the uncontested facts, including stipulated admission made by

 Facebook, prove that neither the Board nor any County employee, agent, or representative of the

 County, at any time deleted the Facebook postings complained of by Davison. Therefore, he has

 suffered no violation of federal (or state) constitutional rights. As to Randall, the uncontested facts

 support no violation of Davison’s federal or state constitutional rights and, as a matter of law, she

 is entitled to qualified immunity. Lastly, Davison has suffered no damages.

        II.     LISTED STATEMENT OF UNDISPUTED FACTS

        1.      Davison is a resident of Loudoun, Virginia, who frequently comments publicly on

 local government matters including those involving the County. Compl. ¶ 15; Davison Tr. pp. 80-84).

 The Board is the public governmental body responsible for government functions within Loudoun

 County. Compl. ¶ 2; Loudoun’s Answer Doc. 13, ¶ 3.

        2.      Randall is the Chairman of the Board. (Am. Compl. ¶¶ 4, 5; Randall’s Answer to

 1st Am. Compl. ¶ 4).

        3.      The Loudoun County Government maintains an official Facebook page which has

 been verified by Facebook. Verification means that Facebook has determined that the County’s




        5
          Because Davison incorporated allegations from his initial and subsequent Complaints
 into the most recently filed Second Amended Complaint, citation to those earlier pleadings is as
 follows: “Compl.,” “1st Am. Compl.,” “2nd Am. Compl.”

                                                   3
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 Facebook page is authentic, in that it is the official Facebook page for the County. Barbour Decl.

 ¶ 2, Exh. 1.6

         4.        In 2016, administrative control over the County’s official Facebook page was limited

 to five identified individuals, staff contributors of the County Division of Public Affairs and

 Communications, who were the only individuals authorized, and with access, to post information

 and delete or remove comments on the Facebook page through Facebook or the social media tool

 called Hootsuite (https://hootsuite.com/). These were Glen Barbour (“Barbour”), Robin Geiger

 (“Geiger”), Nancy McCormick (“McCormick”), Emily Watkins (“Watkins”), Liz Mills (“Mills”) and

 Catherine Motivans (“Motivans”).Barbour Decl. ¶ 3, Exh. 2. Catherine Motivans, Accessibility

 Services Manager, had information allowing her to access the County’s Facebook page through

 Hootsuite, if necessary, while her supervisor Watkins was out of town the week of July 18, however

 she did not do so and did not remove, hide, delete or otherwise tamper with any of Davison’s

 comments. Motivans Decl. ¶¶ 1, 2.

         5.       Barbour, Geiger, McCormick and Watkins are authorized to make postings or delete

 information by directly accessing the County’s Facebook page or through Hootsuite. The fifth

 administrator, Liz Mills, who is no longer employed by the County, was authorized to make postings,

 delete or remove information to the County’s Facebook page via Hootsuite. Id. The County

 Facebook page had a posted Social Media Policy which notifies users of the terms and conditions

 for the posting of comments, and the administrators’ authority to remove and/or delete comments.

 Barbour Decl. ¶ 4, Ex. 3A. In November 2016, the policy was updated. Ex. 3B.

         6.        On July 19, 2016, a post was created on the County’s Facebook page that read

 “#Loudoun County Attorney Leo Rogers has determined that text messages sent and receive[sic]


         6
             Declaration dated April 4, 2017, filed simultaneously herewith.

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 during a Board of Supervisors committee meeting did not violate the Virginia Freedom of

 Information Act. http://bit.ly/29JL32Y.” The post linked to a press release on Loudoun’s website

 stating that the text messages during the July 15, 2016 committee meeting did not constitute a FOIA

 violation Compl. ¶ 13; Ex. 15.

        7.        At 4:20 p.m on July 19, 2016, Davison began to making comments under the screen

 name “Virginia SGP” on Loudoun’s Facebook page related to the post quoted in paragraph 6. His

 comment, and three others he made in succession that afternoon, were “hidden and/or deleted.”

 Compl. ¶¶ 14-19, Compl. exs. 3-9.

        8.        During the week in which this occurred, including on July 19, 2016 , two of the five

 Loudoun administrators with authorized access to post and delete or remove comments, Geiger and

 Watkins, were out of town and did not access the County’s Facebook page at all during that time

 and neither did Motivans, who worked for Watkins. Barbour Decl. ¶ 5; Geiger Decl. ¶ 4 ; Watkins

 Decl. ¶ 4; Motivans Decl. ¶ 2. The other administrators with authorized access, Barbour,

 McCormick, and Mills, at no time deleted, hid, or otherwise removed Davison’s posted comments

 of July 19, 2016. Barbour Decl. ¶¶ 5, 7, 8, 9, 10, 11; McCormick Decl. ¶ 4; Mills Decl. ¶ 4.7

        9.        Facebook reviewed the matter and determined that its systems appeared to have

 deleted the comments without the County’s or its employees’ involvement. Davison’s comments

 on the County’s Facebook page were neither deleted by the plaintiff nor the defendant or any of its

 employees. Exs. 21.8



        7
        Previously submitted in support of the Board’s Motion to Dismiss when Mills was still
 employed by the County.
        8
            Parties Joint Stipulation of Facts and attached letter incorporated therein. Doc. 76.

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        10.       The specific comments may no longer be retrieved by either party within the

 Facebook system. No Facebook log records exist regarding the deletion of the specified comments.

 Facebook’s system caused the comments to be deleted from defendant’s County Facebook page. As

 a direct result of communications by plaintiff and defendant to Facebook and with Facebook’s

 counsel. Facebook has made software changes that it believes will prevent comments from being

 unintentionally deleted going forward. Ex. 21.

        11.       An individual Board member may request that the County staff create a Board

 member’s sponsored Facebook page, which would then be maintained and controlled by County

 employees in the Office of Public Affairs and Communications as identified herein above in

 paragraphs 4 and 5. To date, none has been created. Each member of the Board, including Randall,

 has a County created and assigned email account and there is a general email account providing

 email access to the entire Board. Randall’s email account is Phyllis.Randall@loudoun.gov; the

 Board’s general email account is BOS@loudoun.gov. Barbour Decl. ¶¶ 19-20; Randall Decl. ¶ 2.9

        12.       Randall, personally, created the Facebook page identified by Davison in his First

 Amended           Complaint,        h ttps://www.facebook.com/pg/chair-Phyllis-J -

 Randall:1726409590911855/about/?ref=page internal, (“Randall’s Facebook page”) and she

 manages and controls that page. She has both a County issued and personal cell phones. All

 postings to her Facebook page are made from her personal cell phone device. She does not post

 information or communicate via this Facebook page by use of any County computers or devices.

 Randall Decl. ¶¶ 3-4; Barbour Decl. ¶ 21.




        9
            Randall’s declaration dated April 4, 2017, filed simultaneously herewith.

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        13.     The only other person who has posted information to Randall’s Facebook page, on

 an infrequent basis, is her chief of staff, Jeanine Arnett. Ms. Arnett has posted photographs or

 information at Randall’s request and has done so only when she was given Randall’s personal cell

 phone to do so. These instances have occurred when they were together at events, usually on

 weekends or evenings. Randall Decl. ¶ 5. When she leaves office, her Facebook page will continue

 to be owned, operated and controlled by her and not pass to any successor or to the County. Id. ¶ 4.

        14.     Randall’s Facebook page was not created by, and is not owned or operated by,

 County employees. No County employees in the Public Affairs and Communications Office have

 any administrative access or control over Randall’s Facebook page. Only Randall and Ms. Arnett

 have administrative access or control over this Facebook page. The County’s Social Media Policy

 does not apply to Board members of their staff. Barbour Decl. ¶ 21; Randall Decl. ¶ 4. Randall has

 “complete discretion on the operation of her ‘official’ Facebook page. . . .” Am. Compl. ¶ 11.

        15.     Davison cannot recall posting anything on Randall’s Facebook page in the three

 months before February 3, 2016, after she was elected Board chair. Davison Tr. pp. 5-8.

        16.     In February 2016, Davison became aware of an educational meeting to be held at the

 Town Hall where members of the Board and School Board members appeared on February 3, 2016.

 Davison Tr. pp. 8-9. He posted a comment on the Facebook page for Loudoun Educational Alliance

 for Parents (“LEAP”) and tagged Randall stating that, since there was a big discussion of ethics in

 Loudoun County after Randall was elected and she ran on that platform, there were ethical issues

 involving multiple members of the School Board whose spouses worked for the school system and

 he included criticism of the School Board chairman. Davison Tr. p. 9, Tr. Ex. 4.




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        17.     Because he tagged Randall, she would have received an email that indicated someone

 commented about her. Davison Tr. p. 10. The February 3, 2016, Town Hall meeting was held at

 the School Board Administration building. Randall was among those attending, but not all of the

 Board members were present, and members of the School Board attended. Davison Tr. p. 11.

 Questions were solicited from those in attendance, submitted in writing, and then individuals would

 randomly select questions to be addressed directly to a particular individual. Davison Tr. pp. 12 -13.

        18.     The question submitted by Davison, which was selected and directed to Randall at

 the Town Hall meeting on February 3, asked whether she was advocating an ethics pledge for the

 School Board, inasmuch as she ran for the Board of Supervisors on an ethics pledge and was

 working on passing such a pledge, given that the chair of the School Board works for a private

 foundation of a for profit charter school billionaire. Davison Tr. pp. 21-22.

        19.     Davison was dissatisfied with her response at the Town Hall meeting and posted his

 negative thoughts about her response on Facebook, including the LEAP organization’s page and

 Loudoun Times Mirror, and sent Twitter comments to Randall. Davison Tr. pp. 20-23, Ex. 18, pp.

 23-24; Exs. 25-27.10 Davison did not attempt to comment on Randall’s Facebook page during the

 meeting. Davison Tr. pp. 23-24.

        20.     On or about February 1, 2016, Davison became aware of a posting made by Randall

 to her Facebook page related to a recent visit to the County by Senator Tim Kaine. Davison Tr. pp.

 15, 19-20. Davison felt “particularly aggrieved” about Senator Kaine, not because Randall hosted

 him, but because he believes that Senator Kaine is unethical in terms of the education policy in

 Virginia, as he is married to the former Secretary of Education whom Davison believes “defrauded


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          These exhibits were also identified for trial by Davison in his final pretrial disclosures
 with no objection filed by the defendants.

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 the federal government on the use of value added data in Virginia. . . . and under the waivers of the

 No Child Left Behind.” Davison Tr. p. 19, Tr. ex. 7.

        21.     Davison does not recall whether Randall posted anything related to the Town Hall

 meeting or the ethics pledge on February 3, 2016, or later. Davison Tr. pp. 31-33. He intended to

 post comments about the meeting and the ethics pledge after he arrived home following the meeting.

 Id. Davison also intended to post a comment on Randall’s Facebook page in response to her February

 1, 2016 posting about Senator Kaine. That comment was ultimately posted on February 6, 2016.

 Davison Tr. pp. 29-30, Tr. ex. 7.

        22.     Randall posted a few photos and a brief statement about the Town Hall meeting on

 her Facebook page that evening. In response, Davison posted what Randall felt was a tirade about

 the School Board, School Board members, their spouses, and the School Board’s ability to be fair.

 Randall deleted the entire post and banned him because she was concerned about the effect his

 comments would have on others interested in her Facebook page. Randall Decl. ¶ 9. Being banned

 from Randall’s Facebook page only precluded Davison from commenting on her page but not from

 viewing her page. Davison Tr. p. 30. It also did not preclude Davison from sharing the information

 shown on her page with other people by clicking the share button. Davison Tr. pp. 30-31.

        23.     Davison does not recall sharing any information from Randall’s Facebook page after

 he discovered that he was banned. Davison pp. 31-32. Randall decided to restore Davison’s ability

 to post comments in response to information posted on her Facebook page the next morning,

 February 4, 2016, which she did. Randall Decl. ¶ 9.




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         24.     When Davison looked at Randall’s Facebook page on the morning of February 4,

 2016, the most recently posted topic for discussion shown on her page dealt with Senator Kaine’s

 visit to the County. Davison Tr. pp. 33-34 Tr. ex. 4, p. 2. At that time, he was still banned, although

 he cannot recall at what time he checked. Although he intended became aware by no later than 5:36

 p.m. on February 4 that he was no longer banned, he waited until February 6, 2016, to post a about

 Senator Kaine’s visit. Id. at pp. 34-35, Tr. exs. 4-5, 7.

         25.     Davison posted a message to Supervisor Buona on his Facebook page or tagged him

 on Davison’s SGP Facebook page; sent emails to individual members of the Board and the entire

 Board during the night of February 3, 2016; and also posted on the Loudoun Times Mirror Facebook

 page; as well as multiple postings on his own SGP Facebook page, that he was banned from

 Randall’s Facebook page. Id. at pp. 35-36, 49-50. Davison posted comments explaining his

 frustration with Randall on his own SGP Facebook page, tagged her in these postings so that she

 would receive notification of the postings. Id. at pp. 36-37, Tr. exs. 4, 5, 6; Compl. ex. 19.

         26.     At some point, Davison became aware that Facebook software allowed other

 members of the public, whether known or unknown to him, to prevent him from seeing their posted

 comments to any public Facebook page, including Randall’s. Davison Tr. pp. 38-41, Tr. ex. 20.

         27.     Facebook also has settings which allow a Facebook page account holder to limit the

 ability of third persons to comment independently of information posted or commented upon by the

 Facebook page holder. It allows the individual owner or creator of the Facebook page to control

 whether other people can create their own posts on that person’s page. Davison Tr. pp. 52-56.

 Randall controlled postings on her Facebook page by limiting the ability of comments from third

 parties to only comment on posts that she posted on the page, allowing her to control the subject

 matter. Davison Tr. pp. 53-56, Tr. ex. 24.

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        28.     On April 30, 2016 at 10:01 a.m., Davison posted a comment in reply to other posted

 comments stating that the County Attorney told Randall she could not block him, to which she

 responded at 10:28 a.m. that she never had a conversation with the County Attorney or anyone in his

 office about blocking Davison. She stated that the block (ban) lasted for about twelve hours and she

 decided that blocking (banning) him was not correct and not the type of leader she wished to be.

 Davison Tr. pp. 64-65, Tr. ex. 9; Randall Decl. ¶¶ 9-10. Davison did not see this post made on April

 30, 2016 by Randall for months because she did not tag him and he did not routinely go to her

 Facebook page. Davison Tr. pp. 66-71.

        29.     The only time period during which Davison was banned from Randall’s Facebook

 page was at night on February 3, 2016 into February 4, 2016. During that time, Davison cannot

 recall whether he shared any comments he saw others making or posting on Randall’s Facebook page

 and has no recollection of anything she posted during the time he was banned. Davison Tr. pp. 94-

 95.

        30.     Since communicating with Facebook’s attorney and receipt of confirmation that

 Facebook’s system deleted the postings about which he complained of against the Board, and being

 told that Facebook had taken appropriate measures to fix the problem, Davison has not experienced

 the disappearance of any of his comments or postings to the County’s Facebook page. Davison Tr.

 pp. 118-20.

        31.     On December 2, 2016, Davison submitted a request under the Virginia Freedom of

 Information Act (“FOIA”) to Leo Rogers, the County Attorney, requesting records related to

 Randall’s Facebook page. He requested records of all County employees who have administrative

 rights (or editing rights) for this page, any records that show which members of Randall’s staff can

 edit/manage the page. In response to that request, the County Attorney replied that the information

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 he requested “is not contained in any public record held by Loudoun County.” “You are seeking

 information about Phyllis Randall’s private Facebook page.” Davison Tr. pp. 125-26, Tr. ex. 21.

         32.     Davison is seeking no monetary damages in this case “other than court costs and fees

 involved in the litigation (e.g. transcripts, process server).” Davison Tr. pp. 5-6, Tr. exs. 1 and 1B11,

 interrogatories nos. 1 and 2.

                 III.    LAW AND ARGUMENT

         A.      Standard of Review

         Summary judgment is proper in this case because there is no “genuine issue” with regard to

 any material facts related to the Board’s entitlement to dismissal based on the undisputed evidence

 that no County involved employee or action caused the disappearance of Davison’s July 2016

 postings which are the subject of his claims against the County and/or the Board. Accordingly, he

 suffered no violation of his constitutional rights. Based on the undisputed facts, Randall’s Facebook

 page was not owned, operated or created by the County government, did not constitute a recognized

 public forum, she did not violate Davison’s constitutional rights, and she is entitled to qualified

 immunity. Fed. R. Civ. P. 5(c); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48

 (1986); Evans v. Techs. Apps. & Serv. Co., 80 F.3d 954, 958-59 (4th Cir. 1996); Thompson Everett

 Inc., v. National Cable ADV, 57 F.3d 1317 (4th Cir. 1995).

          A party seeking summary judgment has the initial burden of showing the absence of a

 material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). A genuine issue of material fact

 exists, “if the evidence is such that a reasonable jury [fact finder] could return a verdict for the non-



         11
          Ex. 1 is Davison’s sworn answers to defendants’ interrogatories which he authenticated
 at deposition; Ex. 1B is copy of defendants’ written interrogatory requests because Ex. 1 does not
 contain the interrogatory questions, only Davison’s written responses.

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 moving party.” Anderson, 477 U.S. at 248. Any disputed facts must be material, “ . . . to an issue

 necessary for the proper resolution of the case, and the quality and quantity of the evidence offered

 to create a question of fact must be adequate to support a jury verdict.” Thompson Everett Inc., F.3d

 at 1323, citing Anderson, 477 U.S. at 252. Although, at the summary judgment stage, the facts must

 be viewed in the light most favorable to the nonmoving party, “‘[w]here the record taken as a whole

 could not lead a rational trier of fact to find for the nonmoving party, there is no ‘genuine issue for

 trial.’” Scott v. Harris, 550 U.S. 372, 380 (2007).

        B.    Davison’s First and Fourteenth Amendment Claims against Loudoun
             County should be dismissed with prejudice.

        Davison’s constitutional claims against the Board are based on the allegations that four

 posted comments he made to the County’s Facebook page on July 19, 2016, were hidden or deleted

 by “the page’s moderator” or someone under the direction and control of the Board. Compl. ¶¶ 15-

 19. In denying the Board’s initial Motion to Dismiss this court stated that, because Davison alleged

 that the Board ratified a decision of a subordinate in deleting his Facebook postings, the case against

 the County was a “close” factual question, “and so properly addressed after some discovery has

 taken place.” Doc. 11, pp. 13-14.

        Discovery in the case revealed the undisputed fact that neither the Board nor any County

 employee, official, or officer, had anything to do with the deletion of Davison’s July 2016 postings

 on the County’s Facebook page. Ex. 21. Facebook has acknowledged that “its systems appeared

 to have deleted the comments without Defendants’ involvement.” Id. The parties have stipulated

 to this and also stipulated to the fact that Facebook has since made software changes which it

 believes will prevent comments from being unintentionally deleted going forward. Id. The parties

 have stipulated to the fact that Davison’s comments on the “‘Loudoun County Government’

 Facebook page’s July 19, 2016 postings regarding potential FOIA violations were neither deleted

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 by Plaintiff nor Defendant, or its employees.” Davison has incurred no damages. Davison Tr. pp.

 5, 6, 30-37. Accordingly, Counts I and II of the Complaint (incorporated into plaintiff’s subsequent

 Complaints, including the Second Amended Complaint now before the court) should be dismissed

 with prejudice.

         C.        Davison’s First and Fourteenth Amendment, and Virginia Constitutional,
                   Claims against Randall should be dismissed with prejudice

         Based on the undisputed facts, Randall’s Facebook page, which was created and controlled

 by her personally and is not subject to control or administration by the County or subject to its social

 media policy, is not a public forum. Randall Decl. ¶¶ 3-5; Barbour Decl. ¶¶ 19, 21. Davison’s

 statements or arguments that Randall’s Facebook page is “official,” are conclusory. Just because

 she happens to be the Board chair, an elected official of a governing body which governs not through

 individuals but collectively, does not mean that her Facebook page is a public forum, limited or

 otherwise. Davison has also incurred no damages as a result of being temporarily banned from

 Randall’s Facebook page.

         It is undisputed that individual Board members do not have the power and authority to

 officially act and bind the entity or any other County department or agency, and the powers of the

 Board and any afforded the Chairman are set by statute. Virginia Code §§ 15.2-800, et seq.. The

 governing body acts as a whole or by quorum. Va. Code §§ 15.2-400, et seq. This is true even

 though her Facebook page identifies her as “Chair,” and includes the words “Government Official,”

 Davison’s Compl. ex. 18. Randall’s personal Facebook page, unlike the County’s Facebook page,

 is also not a Facebook account page verified as a governmental or organizational page. Exs. 3, 4,

 18. This is further supported by the fact that the County has no involvement in the management,



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 control, or operation of her personal Facebook page, and she has not elected to have a County

 controlled Facebook page. Whether a public meeting of the Board occurs is also governed by

 statute. Va. Code § 2.2-3701.12 Under these provisions, it is clear that Randall’s Facebook page, her

 postings, and the posting of comments by individuals in response to her postings, are not equivalent

 to a Board meeting which is the only capacity in which Randall officially acts in the actual or

 transaction of government business or effectuation of governmental policy.

        The County’s Facebook page, as distinguished from Randall’s, is a limited public forum as

 Davison concedes (Compl. ¶ 30), and the County had the right to reserve the page for “its intended

 purposes, communicative or otherwise, as long as the regulation on speech is reasonable and not an

 effort to suppress expression merely because public officials oppose the speaker’s view.” Perry

 Education Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 46 ((1983)(citing U.S. Postal Serv.

 v. Greenburgh Civic Ass’ns, 453 U.S. 114, 131 (n.7 (1981)). Limited public forums may lawfully

 be created and designated for “a limited purpose such as use by certain groups, . . . or for the

 discussion of certain subjects.” Perry, 460 U.S. at 46 n. 7. During the time period in question, the

 County could, and did, impose limitations on content-based subject matter and preserved them once


        12
            "Meeting" or "meetings" means the meetings including work sessions, when sitting
 physically, or through telephonic or video equipment pursuant to § 1. 2.2-3708 or 2.2-3708.1, as
 a body or entity, or as an informal assemblage of (i) as many as three members or (ii) a quorum,
 if less than three, of the constituent membership, wherever held, with or without minutes being
 taken, whether or not votes are cast, of any public body. Neither the gathering of employees of a
 public body nor the gathering or attendance of two or more members of a public body (i) at any
 place or function where no part of the purpose of such gathering or attendance is the discussion
 or transaction of any public business, and such gathering or attendance was not called or
 prearranged with any purpose of discussing or transacting any business of the public body, or (ii)
 at a public forum, candidate appearance, or debate, the purpose of which is to inform the
 electorate and not to transact public business or to hold discussions relating to the transaction of
 public business, even though the performance of the members individually or collectively in the
 conduct of public business may be a topic of discussion or debate at such public meeting, shall be
 deemed a "meeting" subject to the provisions of this chapter.

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 established. Perry, 460 U.S. at 46; See, Lyrissa Lidsky, Public Forum 2.0, 91 B. U. L. Rev. 1975,

 1984 (2011); Barbour Decl. ¶ 4; Exs. 3A, 3B.

           Public forums are defined by “the historical use of government property.” Id. at 1983 (citing

 Int’l Soc’y for Krishna Consciousness v. Lee, 505 U.S. 672, 680 (1992). “A designated public forum

 may be made available ‘for use by the public at large for assembly and speech, for use by certain

 speakers, or for the discussion of certain subjects.’” Sons of Confederate Veterans v. City of

 Lexington, 722 F.3d 224, 230 (4th Cir. 2013). There must be a “clear indication of government

 intent” by the County or the Board–the legally recognized governmental entity-to designate a

 Facebook page as a public forum, limited or otherwise. Id. at 1984 (citing Cornelius v. NAACP Legal

 Def. and Educ. Fund, 473 U.S. 788, 803-03 (1984)). The County can lawfully limit the stated

 purpose or designation of its Facebook page, stating that it does not intend to create a traditional

 open public forum and retain the ability to eliminate or edit comments. Hazelwood Sch. Dist. v.

 Kuhlmeier, 484 U.S. 260, 270 (1988). A non-public forum is defined as property owned or

 controlled by the government, “which is not by tradition or designation a forum for public

 communication.” Perry, 460 U.S. at 46. In determining government intent to create a public forum,

 the courts look “to the policy and practice of the government to ascertain whether it intended to

 designate a place traditionally open to assembly and debate as a public forum.” Cornelius, 473 U.S.

 at 803.

           With regard to Randall’s Facebook page, the undisputed facts show that it was not created

 by the County government and is not owned, managed, operated or controlled by the County

 government. Accordingly, there was and is no intent by the actual government to create and

 designate Randall’s Facebook page as any type of public or non-public forum. Further, Facebook

 social media is “neither owned nor exclusively controlled by” the individual or even a governmental


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 Facebook account holder. Facebook is the holder of proprietary software and issues licenses to

 account holders but retains control of Facebook page content by imposing specific terms and

 conditions. Public Forum 2.0, at 1996; Davison Tr. exs. 12-13. As conceded by Davison, due to

 Facebook’s internal software, anyone can mark his postings as spam which would cause Facebook

 to suppress his comments, without any action taken by the government or any governmental

 employee. Davison Tr. pp. 121-22.

        It is Facebook’s created software which allows this to occur and to which Davison objects,

 arguing that it restricts his ability to have full access to Randall’s Facebook page, not in order to

 petition or communicate with her, but because he can neither see nor comment on postings made by

 other individuals. Id. Finally, Facebook makes it almost impossible to view someone’s Facebook

 page, such as Randall’s, without creating a Facebook account and becoming a Facebook member.

 Davison Tr. pp. 46-47. Thus, Randall’s Facebook page, in addition to not being “operated by the

 Government. . . .” it is not freely accessible to members of the public. Greer v. Spock, 424 U.S. 828,

 836 (1976)(“The guarantees of the First Amendment have never meant ‘that people who want to

 propagandize protests or views have a constitutional right to do so whenever and however and

 wherever they please.”)(citing, Adderley v. Florida, 385 U.S. 39, 48 (1966)).

        Davison concedes that Randall has “complete discretion” in the operation of her Facebook

 page, thus her page is not a recognized public forum under any existing case law or statute. It does

 not even constitute a non-public forum under Perry because it is not “owned or controlled by the

 government,” i.e. the Board, which is the official governing body for the County. Perry, 460 U.S.

 at 46. Simply allocating a total amount of funds for operation of Randall’s office as chair and the

 employment of staff, where the uncontested facts show that she used a personal device to make



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 postings and, her chief of staff occasionally made postings on evenings or weekends, and given that

 her elected position, by statute, confers no independent policy making authority, does not convert

 her Facebook page into a public forum.

        Randall is not a constitutional officer holder with independent legislative or policy making

 authority, such as Virginia’s Attorney General or the Commonwealth’s Attorney, James Plowman

 (“Mr. Plowman”)13, as argued by Davison. Government employees and elected members of a policy

 making legislative body do not give up the right to communicate via social media, whether through

 a Facebook page identifying them by name with no privacy protections, or Facebook page they

 created identifying them by name and including their elected title with no privacy protections. Under

 Davison’s theory, elected officials or government employees could not create Facebook pages with

 privacy protections if they include any information on that page identifying their employment status

 or elected position. More importantly, the fact that Facebook controls posted material, access to that

 material, provides the means by which other people can preclude Davison from seeing their posts

 and commenting on them, all through legally licensed software, demonstrates the limited

 circumstances under which even an acknowledged “official” Facebook page can be deemed a

 governmental public forum, limited or otherwise.

        Davison has ample opportunities and means by which, even he admits, to communicate in

 public about matters of interest to him, including criticism of Randall and many other people. These

 include the County’s Facebook page; various newspapers’ Facebook pages; his own Facebook page;

 other web-sites; emails to County employees. He is not claiming that his right to petition the

 government (in this case Randall or the Board) was denied or interfered with. The resources



        13
             “Plowman” when referring to case no. 1:16cv180 (Davison v. James Plowman).

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 available to him to let his opinions be known to the County government are numerous. However,

 Davison possesses no constitutional right to force the government, and certainly not an individually

 elected official like Randall, to listen to him or provide him access to her Facebook page. Minn.

 State Bd. for Community Colleges v. Knight, 465 U.S. 271, 283 (1984)(there is “no constitutional

 right to force the government to listen to [one’s] views”). “[T]he mere fact that an instrumentality

 is used for the communication of ideas does not make a public forum. . . . .” Perry, 420 U.S. at 49

 (citations omitted).

         Even if Randall were a constitutional officer with official policy making powers independent

 of the Board, at most Davison suffered a “de minimis inconvenience” to his exercise of First

 Amendment rights by being banned from her Facebook page for less than 24 hours. Balt. Sun. Co.

 v. Erlich, 437 F.3d 410, 416, 418 (2006)(no actionable claim for retaliation in violation of First

 Amendment rights when “a government official denies a reporter access to discretionarily afforded

 information or refuses to answer questions.”) Randall did no more, in fact less, than the Maryland

 governor in this cited case. She very briefly denied Davison the ability to post on her Facebook

 page–she did not deny him access to information she posted, or his ability to share that information

 with others.

         Davison also fails to state a claim for violation of his Fourteenth Amendment rights. As noted

 by the court in document 11 (Memorandum Opinion dated September 14, 2016), the Supreme Court

 has “on occasion held that opportunity for a fair adversary hearing must precede” action that would

 “directly impinge upon interests in free speech,” citing Bd of Regents of State Colleges v. Roth, 408

 U.S. 564, 576 n. 14 (1972). In the present case, however, the County government, the Board, did

 not “directly impinge upon” Davison’s “interests in free speech. . . .” Id. at 575 n. 14. Further, prior

 hearing/notice is not required in every instance where someone claims violation of free speech rights.

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 Mathews v. Eldridge, 424 U.S. 319, 334 (1976)(“[D]ue process is flexible and calls for such

 procedural protections as the particular situation demands.”)(citation omitted).

        Under the three-factor test set forth in Mathews14, Davison’s alleged deprivation was a de

 minimis inconvenience to the exercise of any First Amendment rights. He did not suffer a significant

 deprivation of any liberty interest. The Supreme Court has made a distinction between cases in

 which there were prior restraints in the form of an injunction on free speech rights or large scale

 seizure and destruction of books in violation of the First Amendment as opposed to facts such as

 raised in this case where no such action occurred. Id., citing Carroll v. Princess Anne, 393 U.S. 175,

 180 (1968) and A Quantity of Books v. Kansas, 378 U.S. 717, 210 (1964). No similar restraint

 occurred in this case. Just as in Plowman, Davison “could and did avail himself of Facebook and

 other social media platforms to reach his audience,” and there is no evidence that the multiple

 “alternative channels of communication” readily available to and used by Davison were

 “inadequate.” Plowman Doc. 42, p. 21.15

        For the reasons argued herein above in support of the dismissal of Davison’s Federal

 constitutional claims, Randall argues the state constitutional claims should also be dismissed. York

 v. Danville, 207 Va. 665, 669 (1967)(“While the rights of freedom of speech and assembly are

 fundamental, they are not absolute and must be exercised in subordination to the general comfort and

 convenience and in consonance with peace, good order and the rights of others.”) Although the facts

 in York may be distinguished from the facts in this case, the principle is the same. Randall also has

 fundamental constitutional rights, including the right to personally create a Facebook page and


        14
             424 U.S. at 334-35.
        15
         Brian Davison v. James Plowman, in his official capacity as Attorney for Loudoun
 County, Virginia, and individually, Case No. 1:16-cv-180, Doc. 42.

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 convey ideas and information to constituents which does not involve the transaction of government

 business as a Board member. She’s merely sending out information via Facebook about multiple

  subjects, including the weather. Davison Tr. ex. 23.

           C.      Randall’s Entitlement to Qualified Immunity

           In addition to not having violated Davison’s constitutional rights under either the First or

 Fourteenth Amendments, Randall is entitled to qualified immunity. “Qualified immunity shields

 government officials performing discretionary functions from personal-capacity liability for civil

 damages under § 1983, insofar as their conduct does not violate clearly established statutory or

 constitutional rights of which a reasonable person would have known.” Ridpath v. Bd. of Governors

 Marshall Univ., 447 F.3d 292, 306 (4th Cir. 2006) (internal quotation marks omitted). Government

 officials are entitled to the defense of qualified immunity when sued in their individual capacities

 unless, “(1) the allegations underlying the claim, if true, substantiate the violation of a federal

 statutory or constitutional right; and (2) this violation was of a ‘clearly established’ right ‘of which

 a reasonable person would have known.’” Id. The defense of qualified immunity is available to a

 defendant whose actions are found to be unconstitutional. Saucier v. Katz, 533 U.S. 194, 206

 (2001).

           If there is no violation of a constitutional right, then the defense of qualified immunity is not

 necessary or implicated. Id. at 201. The test is one of objective reasonableness, meaning, “[i]f

 officers of reasonable competence could disagree on [the] issue, immunity should be recognized.”

 Malley v. Briggs, 475 U.S. 335, 341 (1986). The defense provides for protection to all but the plainly

 incompetent or those who knowingly violate the law.” Id. The relevant factual inquiry is whether a

 reasonable chairman could believe that her conduct was lawful. Anderson v. Creighton, 483 U.S.

 635, 641 (1987). The analysis involves “a more particularized inquiry, focusing on whether a

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 reasonable” County Board Chairman, at the time of the acts or actions complained of, “‘could have

 believed’” her conduct was lawful, “in light of clearly established law and the information” she

 possessed at the time. Cruey v. Huff, 2010 U.S. Dist. LEXIS 118374 *20 (W.D. Va. Nov. 8, 2010);

 Collinson, 895 F.2d at 998 (“assessment whether a ‘reasonable person’ in the official’s position

 would have known that his conduct would violate ‘clearly established’ rights must be made on the

 basis of information actually possessed at the time by the official.”)

         Based on this court’s recent ruling in Plowman and the reasons cited for holding that Mr.

 Plowman was entitled to qualified immunity in defense of Davison’s claim that he was banned from

 Mr. Plowman’s Facebook page,16 Randall should be entitled to qualified immunity. As supported

 by the undisputed facts, based on Davison’s deposition testimony, the allegations in his pleadings,

 and the exhibits submitted in support of defendants’ Motion for Summary Judgment, during the

 short amount of time Davison was banned from Randall’s Facebook page, he was able to and did

 use other adequate alternative means of communication channels including multiple social media

 sites and email to “reach his audience.” Plowman, Memorandum, ECF Doc. 42, p. 21.

         Just as in Plowman, Davison remained able to view Randall’s posts, share them with others,

 and respond to posts through other multiple alternative channels of communication available to him.

 Id. In addition, just as in Plowman, Davison’s primary interest in Randall’s page was “as a platform

 to air his grievances against” her and the Loudoun County Public Schools (School Board). Id. at 22.

 Existing case law did not put Randall on notice that she would be violating Davison’s First

 Amendment right to Free Speech by banning him from her Facebook page on February 3/4, 2016.

 Id. at p. 19.



         16
              Which ban was in effect for several months, as opposed to less than 24 hours.

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         If Randall’s Facebook page was a “government” page constituting a public forum, then she

 should be entitled to sovereign immunity in defense of Davison’s state constitutional claims under

 the four factor test established by the Supreme Court of Virginia in Messina v. Burden, 228 Va. 301,

 311-12 (1984). These factors are: 1) nature of the function performed; 2) extent of the state’s interest

 and involvement in the function; 3) the degree of control and direction exercised by the state over

 the employee; 4) whether the act complained of involved the use of judgment and discretion.

 However, analysis of this four factor test clearly reveals that Randall, other than exercising judgment

 and discretion, was not acting as or on behalf of the government with regard to the management of

 her Facebook page and the action complained of. Therefore, she could not have violated Davison’s

 constitutional rights.

         IV.     CONCLUSION

         WHEREFORE, for the foregoing reasons, and for any additional reasons to be argued at

 hearing of this matter, defendants move the court for summary judgment in their favor and dismissal

 of all claims with prejudice. 17



                                LOUDOUN COUNTY BOARD OF SUPERVISORS AND
                                PHYLLIS RANDALL

                                By Counsel




         17
       Required Rosoboro notice under Local Rule 11(b) is included in defendants’ Motion for
 Summary Judgment, filed simultaneously herewith.

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              /s/
 Julia B. Judkins, VSB No. 22597
 Heather K. Bardot, VSB No. 37269
 Martin Schubert, VSB No. 80904
 BANCROFT, McGAVIN, HORVATH & JUDKINS, P.C.
 9990 Fairfax Boulevard, Suite 400
 Fairfax, Virginia 22030
 Telephone:     (703) 385-1000
 Facsimile:     (703) 385-1555
 jjudkins@bmhjlaw.com
 hbardot@bmhjlaw.com
 ccarre@bmhjlaw.com
 Counsel for Defendants

           /s/
 Leo P. Rogers, VSB No. 28906
 County Attorney, Loudoun County
 1 Harrison Street, S.E.
 P.O. Box 7000
 Leesburg Virginia 20177
 Telephone:     (703) 777-0307
 Facsimile:     (703)771-5025
 Leo.Rogers@loudoun.gov
 Counsel for Defendants

                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 3rd day of April, 2017, I electronically filed the foregoing pleading
 with the Clerk of Court using the CM/ECF system, and emailed and mailed copy to the plaintiff who
 is pro se, with accompanying Roseboro Notice as set forth in the Motion for Summary Judgment,
 as follows: Mr. Brian C. Davison, 43724 Stone Fence Terrace, Leesburg, VA 20176,
 bcdavison@hotmail.com.

                                                                       /s/
                                                          Julia B. Judkins, VSB No. 22597
                                                          BANCROFT, McGAVIN, HORVATH
                                                            & JUDKINS, P.C.
                                                          9990 Fairfax Boulevard, Suite 400
                                                          Fairfax, Virginia 22030
                                                          Telephone:     (703) 385-1000
                                                          Facsimile:     (703) 385-1555
                                                          jjudkins@bmhjlaw.com
                                                          Counsel for Defendant Randall



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